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 1                                                        THE HONORABLE THOMAS S. ZILLY
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 6
                                  UNITED STATES DISTRICT COURT
 7                               WESTERN DISTRICT OF WASHINGTON
 8
     BUNGIE, INC.,                                   No. 2:21-cv-811-TSZ
 9
                             Plaintiff,              [PROPOSED] ORDER GRANTING
10                                                   PLAINTIFF BUNGIE, INC.’S MOTION
     v.                                              TO UNOPPOSED MOTION TO SEAL
11
     AIMJUNKIES.COM; PHOENIX
12   DIGITAL GROUP LLC; DAVID
     SCHAEFER; JORDAN GREEN;
13   JEFFREY CONWAY; and JAMES MAY,
14                           Defendants.
15
              THIS MATTER came before the Court for consideration on Plaintiff Bungie, Inc.’s
16
     (“Bungie”) Unopposed Motion to Seal (the “Motion”). Now, having reviewed the parties’
17
     briefing, declarations, and exhibits attached thereto, it is hereby ORDERED as follows:
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              Bungie’s Motion is GRANTED. Bungie is permitted to file under seal Exhibits 3 and 4
19
     to the Declaration of William C. Rava in Support of Bungie’s Motion to Dismiss Phoenix
20
     Digital’s and James May’s Amended Counterclaims with Prejudice (“Rava Declaration”), and
21
     the accompanying references to these exhibits and information in Bungie’s Motion to Dismiss
22
     Phoenix Digital’s and James May’s Amended Counterclaims with Prejudice and the Rava
23
     Declaration.
24

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      [PROPOSED] ORDER
                                                                             Perkins Coie LLP
      (No. 2:21-cv-811-TSZ) – 1                                        1201 Third Avenue, Suite 4900
                                                                         Seattle, WA 98101-3099
                                                                           Phone: 206.359.8000
     159368081.1                                                            Fax: 206.359.9000
                   Case 2:21-cv-00811-TSZ Document 73-1 Filed 12/08/22 Page 2 of 2




 1            DATED this _______ day of ______, 2022.
 2

 3                                                Honorable Thomas S. Zilly
                                                  UNITED STATES DISTRICT JUDGE
 4

 5

 6   Presented by:

 7
     /s/ William C. Rava
 8   William C. Rava, WSBA No. 29948
     Christian W. Marcelo, WSBA No. 51193
 9   Jacob P. Dini, WSBA No. 54115
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14
     Attorneys for Plaintiff Bungie, Inc.
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      [PROPOSED] ORDER
                                                                       Perkins Coie LLP
      (No. 2:21-cv-811-TSZ) – 2                                  1201 Third Avenue, Suite 4900
                                                                   Seattle, WA 98101-3099
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